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     Fresno, California 93720
 3   Telephone: (559) 449-9069
     Facsimile: (559) 449-9016
 4
 5   Attorney for Defendant,
     RAMON MANCILLA-ACEVEDO
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 7
 8                                     IN THE UNITED STATES DISTRICT COURT
 9                                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        )   Case No. 1:09-cr-00340 OWW
                                                      )
12              Plaintiff,                            )   STIPULATION TO CONTINUE
                                                      )   MOTION HEARING
13   vs.                                              )
                                                      )
14   RAMON MANCILLA-ACEVEDO,                          )   Date:    January 4, 2010
                                                      )   Time:    1:30 p.m.
15              Defendant.                            )   Court:   The Honorable Oliver W. Wanger
                                                      )
16                                                    )
17
18              IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel, KAREN ESCOBAR, Assistant United States Attorney, counsel for Plaintiff, and
20   CAROL ANN MOSES, Attorney of Record for Defendant, RAMON MANCILLA-ACEVEDO,
21   and GALATEA DE LAPP, counsel for Co-Defendant, LUCAS ROSALES-ROSAS, the motion
22   hearing currently set for January 4, 2010 at 1:30 p.m. shall be continued to
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24   ///
25   ///
26   ///
27   ///
28   ///



     STIPU LATIO N TO C O N TIN U E
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 1   January 11, 2010 at 1:30 p.m. The proposed stipulation of a one week continuance is to
 2   accommodate an unexpected change in Defense Counsel Moses’ litigation schedule.
 3
 4   Dated: December 23, 2009                           By: /s/ Carol Ann Moses
                                                               CAROL ANN MOSES
 5                                                             Attorney for Defendant
                                                               RAMON MANCILLA-ACEVEDO
 6
 7   Dated: December 23, 2009                           By: /s/ Karen Escobar
                                                               KAREN ESCOBAR
 8                                                             Assistant U.S. Attorney
                                                               Attorney for Plaintiff
 9
10   Dated: December 23, 2009                           By:   Galatea DeLapp
                                                               GALATEA DE LAPP
11                                                             Attorney for Co-Defendant
                                                               LUCAS ROSALES-ROSAS
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 1                                                       ORDER
 2              The Court, having reviewed the above request HEREBY ORDERS AS FOLLOWS:
 3              1.          The Motion Hearing scheduled for January 4, 2010 at 1:30 p.m. shall be continued
 4                          to January 11, 2010, at 1:30 p.m.
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 7
           IT IS SO ORDERED.
 8
     Dated: December 23, 2009                                 /s/ Oliver W. Wanger
 9   emm0d6                                              UNITED STATES DISTRICT JUDGE
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